Case 1:22-cv-05867 Decppygnicio Filad SEER Page 1

JS 44 (Rev. 10/20)

of 15 PagelD: 1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

Fragassi, Mark, on behalf of himself and all others

similarly situated
(b) County of Residence of First Listed Plaintiff Warren
(EXCEPT IN U.S. PLAINTIFF CASES)

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
DEFENDANTS

NOTE:

(c) Attomeys (Firm Name, Address, and Telephone Number)
Kevin Riechelson, Esq.-Kamensky, Cohen & Riechelson
194 S. Broad Street, Trenton, NJ 08608 609-394-8585

Attomeys (if Known)

 

Caesars Entertainment, Inc.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Ii. BASIS OF JURISDICTION (Place an “X”’ in One Box Only)

Cc] 1 U.S. Government
Plaintiff

Cc] 2 U.S. Government
Defendant

Ex] 3 Federal Question
(U.S. Government Not a Party)

O 4 Diversity
Undicate Citizenship of Parties in Item ID

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

(For Diversitv Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State CT] 1 Cl 1 Incorporated or Principal Place L] 4 CJ 4
of Business In This State
Citizen of Another State 2 Cc] 2 Incorporated and Principal Place L] 3 5
of Business In Another State
Citizen or Subject of a C 3 C] 3 Foreign Nation L] 6 CL] 6

Foreign Country

Click here for: Nature of Suit Code Descriptions.

 

| CONTRACT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY |) 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cc] 367 Health Care/ |_| 400 State Reapportionment
LC] 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability | 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability [] 368 Asbestos Personal |_| 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) n 345 Marine Product Liability L_] 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR [_] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 {15 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
[| 190 Other Contract Product Liability L] 380 Other Personal | 720 Labor/Management SOCIAL SECURITY. Protection Act
195 Contract Product Liability | | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
Y | 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI x] 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation L] 865 RSI (405(g)) |_| 891 Agricultural Acts
| | 210 Land Condemnation | | 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement || 893 Environmental Matters
[ | 220 Foreclosure | 441 Voting l | 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment - 442 Employment | | 510 Motions to Vacate | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [| 530 General C_] 871 IRS—Third Party -+ 899 Administrative Procedure
[| 290 All Other Real Property | 445 Amer. w/Disabilities - [| 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN {Place an “X” in One Box Only)
1 Original 2 Removed from 3
A Proceeding State Court Li

Remanded from

4 Reinstated or 5 Transferred from
Appellate Court O O

Reopened Another District
(specify)

18 U.S.C. Section 2710

Brief description of cause:
Video Privacy Protection Act

VI. CAUSE OF ACTION

 

6 Multidistrict
Litigation -
Transfer

Cy 8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

 

 

 

VI. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.CVv.P. 5,000,000 JURY DEMAND: [x]yes []No
VIII. RELATED CASE(S)

(See instructions):

IF ANY JUDGE DOCKET NUMBER

DATE b FON RE OF PETE FOR
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10-04-2022 ™ ~
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING [FP JUDGE MAG. JUDGE
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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
MARK FRAGASSI, on behalf of himself and Case No.
all others similarly situated,
Plaintiff
CLASS ACTION COMPLAINT
vs
JURY TRIAL DEMANDED

CAESARS ENTERTAINMENT, INC.

Defendant

 

Plaintiff Mark Fragassi, by and through his attorneys, for his Class Action Complaint

against Defendant Caesars Entertainment, Inc., alleges and states as follows:
INTRODUCTION

1. Plaintiff, on behalf of himself and all others similarly situated, brings this class
action in relation to Defendant disclosing Plaintiffs personally identifiable information (“PII”)
without Plaintiff's consent.

2. Plaintiff is a subscriber of Defendant’s website, www.caesarscasino.com (the
“Website”), which offers a wide array of video content, namely video games.

3. When Plaintiff played video games on Defendant’s Website, Plaintiff's PI] was
shared with Facebook without first notifying Plaintiff and without his consent.

4. Defendant violated the Video Privacy Protection Act, 18 U.S.C. § 2710 (the
“VPPA”) each time it knowingly disclosed Plaintiff's PII to Facebook without consent.

5. Defendant is liable to Plaintiff for statutory damages in an amount not less than

$2,500 for each disclosure of PII, punitive damages, attorneys’ fees and costs.
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PARTIES

6. Plaintiff Mark Fragassi is an individual that is over 18 years old and resides in Glens
Falls, New York. Plaintiff is a subscriber of Defendant’s Website and accessed video content on
the Website (i.e. video games).

7. Defendant Caesars Entertainment, Inc. is a Delaware corporation with its principal
place of business at 1 Caesars Palace Drive, Las Vegas, Nevada. Defendant developed, owns,
and/or operates the Website.

JURISDICTION AND VENUE

8. This Court has jurisdiction pursuant to the Class Action Fairness Act (“CAFA”),
28 U.S.C. § 1332(d). CAFA jurisdiction is appropriate because there is diversity in citizenship
between the parties, there are 100 or more Class Members, and the aggregate amount in
controversy exceeds five million dollars ($5,000,000.00), exclusive of interest and costs.

9. This Court also has jurisdiction pursuant to 28 U.S.C. § 1331 because the action
arises under a law of the United States, namely the VPPA.

10. Venue is proper in this Court because Defendant’s Terms & Conditions specify
jurisdiction and venue as the courts in the State of New Jersey.!

11. Further, Defendant conducts transactions and business in New Jersey, it advertises
in New Jersey, and its Website is available and accessed in New Jersey. Defendant expects to be
haled into a New Jersey court and took affirmative steps to ensure New Jersey jurisdiction and

venue.

 

' https://www.caesarscasino.com/signup/terms-and-conditions/ (accessed Sept. 14, 2022) (“This Agreement including
the Additional Rules and Privacy Policy and the relationship between the parties shall be governed by, and interpreted
in accordance with, the laws of the State of New Jersey. You hereby consent to the exclusive jurisdiction of the courts
in the State of New Jersey to resolve any disputes arising out of Internet or mobile gaming.”).

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GENERAL ALLEGATIONS
Defendant’s Website and Subscribers
12. Defendant is a casino-entertainment company that developed, owns, and/or

operates the Website, which receives thousands of visits each week.

13. The Website provides a wide array of video content in the form of video games.
14. Defendant has thousands of subscribers who access video games on the Website.
15. Individuals subscribe to Defendant’s Website using their email address, name,

gender, date of birth, and other contact information:”

sags 171) wl V2 | Be

 

SUP_START_DISCLAIMER_TEXT

Email Address Confirm Email Address
example@email.con example@email.com
Password Confirm Password

Password

 

First Name

Last Name

Date of Birth

 

 

 

 

? https://www.caesarscasino.com/signup/ (accessed Sept. 14, 2022).

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16. | When someone becomes a subscriber to Defendant’s Website, they receive

recurring notifications and/or emails from Defendant with links to Website video games.
Facebook and Facebook Pixel

17. Facebook “require[s] people to connect on Facebook using the name that they go
by in everyday life”,* such that a person can be personally identified by their Facebook account.

18. When someone creates a Facebook account, a corresponding Facebook ID (“FID”)
is also created.

19. FIDs are uniquely associated with particular Facebook accounts, such that an FID
can be used to identify and view the associated Facebook profile. Accordingly, FIDs are PII.

20. Defendant monetizes its Website by knowingly collecting and disclosing its
subscribers’ PII to Facebook, including data that personally identifies subscribers and the video
content/games they access.

21. | Defendant’s Website uses a code analytics tool called “Facebook Pixel”, which was
implemented at the discretion of Defendant.

22. Facebook Pixel tracks the actions of Website visitors (subscribers), such as the
pages a visitor views and the content they access.

23. When someone plays a video game on Defendant’s Website, the video game name
and the viewer’s FID are simultaneously sent to Facebook via Facebook Pixel.

24. For example, this occurs when someone visits Defendant’s Website and plays the

online gambling video game, “Cleopatra II”:

 

3 https://transparency.fb.com/en-gb/policies/community-standards/account-integrity-and-authentic-identity/
(accessed Sept. 14, 2022).
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25. Once a visitor clicks on and plays this video game, the viewer’s FID, which is
represented by the “c_user” cookie, is sent to Facebook via Facebook Pixel:

METHOD: GET +
URL

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26. Facebook Pixel simultaneously discloses to Facebook the URL that a viewer has
accessed (¢€.g. “www.caesarscasino.com”) and video game name/content (e.g.
“Cleopatra%201%2C%20slots%2C%20casino”).

27. | With the URL and video game name/content, someone can simply enter that data
into a browser and they will know what video game a person accessed/played.

28. The “c_user” cookie that is transmitted by Facebook Pixel contains a viewer’s
unencrypted FID.

29. A Facebook profile can be identified and viewed by appending an FID to the end
of “Facebook.com”, such that a person can be identified by their FID.

30. When a URL, video game name/content, and an FID are simultaneously disclosed,
the video material accessed by a specific individual can be determined.

31. Defendant knew that the URL, video game name/content, and FID ofits subscribers
is simultaneously disclosed by Facebook Pixel when subscribers access video games on its
Website.

32. Defendant also knew that such data may be used together to reconstruct
subscribers’ PII, thereby identifying subscribers and the video games they accessed.

33. Defendant did not obtain the consent of Website visitors to disclose their PII or the
video games they accessed.

34, Visitors to Defendant’s Website are not given an opportunity to withdraw from or
prohibit the disclosure of their PII or the video game content they access.

35. The disclosure of visitors’ PII and/or the video game content they accessed is not
incident to the ordinary course of business of Defendant (i.e. it is not for debt collection, order

fulfillment, request processing, or the transfer of ownership).
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36. The surreptitious disclosure of PII paired with the name of video game content that
an individual accessed is an outrageous invasion of privacy and would be offensive to a reasonable
person.

The Video Privacy Protection Act

37. In recognition of this, Congress passed the VPPA so that individuals can “maintain
control over personal information divulged and generated in exchange for receiving services from
video tape service providers.” S. Rep. No. 100-599, pg. 8.

38. The VPPA provides that a “video tape service provider who knowingly discloses,
to any person, personally identifiable information concerning any consumer of such provider shall
be liable to the aggrieved person for the relief provided in subsection (d).” 18 U.S.C. § 2710(b)(1).

39. Under the VPPA, “the term ‘video tape service provider’ means any person,
engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or delivery

of prerecorded video cassette tapes or similar audio visual materials...” 18 U.S.C. § 2710(a)(4).

40. Video games are audio visual materials.

41. An entity that provides video games to consumers is a video tape service provider
under the VPPA.

42. Under the VPPA, “the term ‘consumer’ means any renter, purchaser, or subscriber

of goods or services from a video tape service provider.” 18 U.S.C. § 2710(a)(1).

43. Under the VPPA, “the term ‘personally identifiable information’ includes
information which identifies a person as having requested or obtained specific video materials or
services from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

44. Where a video tape service provider knowingly discloses the PII of a consumer

without consent, the aggrieved person may bring a civil action for, inter alia, statutory damages in
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an amount not less than $2,500, punitive damages, attorneys’ fees and costs. 18 U.S.C. §
2710(c)(2)(A)-(D).
PLAINTIFF’S USE OF DEFENDANT’S SERVICES

45.  Plaintiffhas been a subscriber of Defendant’s Website since February 2021.

46. Plaintiff has had a Facebook account at all times since subscribing to the Website,
which he is perpetually logged into.

47. Plaintiff subscribed to the Website using his personal email address.

48. Plaintiff's email address and Facebook profile each contain his name, whereby
Plaintiff can be personally identified by that information.

49. Since becoming a subscriber, Plaintiff has regularly played video games on the
Website such as the slots game, Lucky 7.

50. | When playing video games on the Website, Plaintiff uses the same device and/or
browser in which he is logged into his Facebook account

51. Each time Plaintiff played a video game on the Website, Defendant simultaneously
disclosed Plaintiffs FID and the name of the video game that he accessed to Facebook via
Facebook Pixel.

52. This paired information personally identifies Plaintiff and the video material that
he requested, obtained, accessed, and/or played on the Website.

53. Plaintiff did not consent to the disclosure of his PII, in writing or otherwise, and
Defendant did not attempt to obtain Plaintiff's consent in a form separate and distinct from other
legal obligations.

54, Defendant did not provide Plaintiff with an opportunity to withdraw from the

disclosure of his PII.
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55. Defendant’s disclosure of Plaintiffs PII was not related to an ordinary course of
business (e.g. debt collection, order fulfillment, request processing, or any transfer of ownership).
CLASS ALLEGATIONS

A. Definition of the Class
56. Plaintiff brings this action individually and on behalf of all persons that the Court
may determine appropriate for class certification, pursuant to Fed. R. Civ. P. 23 (the “Class” or
“Class Members”). Plaintiff seeks to represent a Class of persons preliminarily defined as:

All persons in the United States who have a Facebook account, subscribed to
Defendant’s Website, and played one or more video games on the Website.

This definition is subject to modification as discovery discloses further information. Plaintiff
reserves the right to propose one or more sub-classes if discovery reveals that such subclasses are
appropriate.

57. This case is properly maintainable as a class action pursuant to and in accordance
with Fed. R. Civ. P. 23 in that:

a) The Class, which includes thousands of members, is so numerous that joinder of all
Class Members is impracticable;

b) There are substantial questions of law and fact common to the Class, including those
set forth in greater particularity herein;

c) Questions of law and fact, such as those enumerated below, which are common to
the Class, predominate over any questions of law or fact affecting only individual
members of the Class;

d) The claims of the representative party are typical of the claims of the Class;

e) A class action is superior to any other type of action for the fair and efficient
adjudication of the controversy;

f) The relief sought in this class action will effectively and efficiently provide relief
to all members of the Class;

g) There are no unusual difficulties foreseen in the management of this class action;
and
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h) Plaintiff, whose claims are typical of those of the Class, through his experienced
counsel, will zealously and adequately represent the Class.

B. Numerosity

58. There are thousands of individuals who are subscribers of the Website and have
accessed video games on the Website. Accordingly, the Class Members are so numerous that
joinder of all parties is clearly impracticable.

59. The prosecution of separate lawsuits by Class Members would risk inconsistent or
varying adjudications. Class-wide adjudication of these claims is, therefore, appropriate.
Cc. Commonality

60. Numerous common questions of law and fact predominate over any questions
affecting individual Class Members including, but not limited to, the following:

a) Whether Defendant collected PII of Class Members who visited its Website;

b) Whether Defendant disclosed PII of Class Members who accessed video games on
its Website;

c) Whether disclosure of PII via Facebook Pixel constitutes “knowing disclosure”;
d) The nature and extent of PII disclosed;
e) How PII was disclosed and to whom;

f) Whether Defendant obtained informed written consent before disclosing PII of
subscribers;

g) Whether Defendant’s Website provided a clear and conspicuous opportunity for
subscribers to withdraw from disclosure; and

h) Whether the disclosures of Class Members PII warrants punitive damages.
D. Typicality
61. Plaintiff has the same interests in this matter as all other members of the Class and

his claims are typical of the claims of all members of the Class. If brought and prosecuted

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individually, the claims of each Class Member would require proof of substantially the same
material and substantive facts, utilize the same complex evidence (e.g. expert testimony), rely upon
the same legal theories, and seek the same type of relief.

62. The claims of the Plaintiff and other Class Members have a common cause and
their damages are of the same type. The claims originate from the synonymous disclosure of PII
by Defendant without consent.

63. All Class Members have been aggrieved by Defendant’s disclosure of their PI]
without consent and are entitled to, inter alia, statutory damages.

E. Adequacy of Representation

64. Plaintiffs claims are sufficiently aligned with the interests of the absent Class
Members to ensure that the Class’ claims will be prosecuted with diligence and care by Plaintiff
as representative of the Class. Plaintiff will fairly and adequately represent the interests of the
Class and he does not have interests adverse to the Class.

65. Plaintiff has retained the services of counsel who are experienced in complex class
action litigation. Plaintiffs counsel will vigorously prosecute this action and will otherwise protect
and fairly and adequately represent the Plaintiff and all absent Class Members.

F. Class Treatment is the Superior Method of Adjudication

66. A class action is superior to other methods for the fair and efficient adjudication of

the controversies raised in this Complaint because:

a) Individual claims by the Class Members would be impracticable as the costs of
pursuit would far exceed what any one Class Member has at stake;

b) Individual claims by Class Members would create a risk of inconsistent or varying
adjudications, which would present the Defendant with incompatible standards of
conduct;

c) Individual claims by individual Class Members would create a risk of adjudications
which would, as a practical matter, be dispositive of the interests of other

il
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individuals who are not parties to the adjudications, or substantially impair or
impede their ability to protect and pursue their interests;

d) Little or no individual litigation has been commenced over the controversies alleged
in this Complaint and individual Class Members are unlikely to have an interest in
separately prosecuting and controlling individual actions;

e) In view of the complexity of the issues and the expenses of litigation, the separate
claims of individual Class Members are likely insufficient in amount to support the

costs of filing and litigating separate actions;

f) The Plaintiff seeks relief relating to the Defendant’s common actions and the
equitable relief sought would commonly benefit the Class as a whole;

g) The concentration of litigation of these claims in one action will achieve efficiency
and promote judicial economy; and

h) The proposed class action is manageable.
CAUSE OF ACTION I

VIOLATION OF THE VIDEO PRIVACY PROTECTION ACT,
18 U.S.C. § 2710

67. Plaintiff restates all allegations of this Complaint as if fully restated herein.

68. Defendant, through its Website, is engaged in the business of delivering audio
visual materials (i.e. video games) to the Plaintiff and Class in multiple states and across state
borders, thus Defendant is a “video tape service provider” under the VPPA.

69. The Plaintiff and Class are consumers under the VPPA because they are subscribers
of Defendant, a video tape service provider, and have accessed video games on Defendant’s
Website.

70. When the Plaintiff and Class Members accessed video games on Defendant’s
Website, Defendant knowingly disclosed their FIDs and the name of the video game/content that

they accessed to Facebook via Facebook Pixel.

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71. The disclosed information is PII because Facebook and anyone with access to that
information can personally identify the Plaintiff and Class Members, as well as the video content
that each of those respective individuals viewed.

72. The Plaintiff and Class did not consent to Defendant disclosing their PII.

73. Defendant did not provide an opportunity for the Plaintiff and Class to withdraw
from the disclosure of their PII.

74.  Defendant’s disclosure of the Plaintiff's and Class’ PII was not in the ordinary
course of business.

75. Defendant is liable to the Plaintiff and Class for statutory damages of not less than
$2,500 for each disclosure of their PII, punitive damages, attorneys’ fees and costs.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff, individually and on behalf of the proposed Class, prays for
judgment as follows:

A. Certification of the proposed Class by order pursuant to Fed. R. Civ. P. 23;

B. Designation of the Plaintiff as representative of the proposed Class and designation
of his counsel as Class counsel;

C. Judgment in favor of the Plaintiff and Class Members as against the Defendant;

D. An award to each Plaintiff and Class Member for statutory damages not less than
$2,500 and punitive damages, including pre- and post-judgment interest;

E. An award of injunctive relief prohibiting Defendant from disclosing the PII of its
subscribers without consent and in accordance with the VPPA;

F. Anaward of attorneys’ fees and costs, including pre- and post-judgement interest;

G. An Order holding that Defendant’s disclosure of the Plaintiff's and Class’ PII without
consent was in violation of the VPPA; and

H. Such further relief that this Honorable Court deems just and proper.

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DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure of all issues so triable.

Date: October 4, 2022 Respectfully submitted,

Wo. erectus —

Kevin S. Riechelson

Kamensky, Cohen & Riechelson
194 §. Broad Street

Trenton, NJ 08608

 

Nicholas A. Coulson*

Lance Spitzig*

*pro hac vice to be submitted
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975 East Jefferson Avenue

Detroit, MI 48207-3101

T: (313) 392-0015

E: ncoulson@lsccounsel.com

E: Ispitzig@lsccounsel.com

Attorneys for the Plaintiff and Putative
Class

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